 

Case 3:22-cv-02174-K-BT Document 4 Filed 09/30/22 Page1of14 PagelD 12

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

Northern District of Texas

Haywood et al

 

Plaintiff
Vv. Civil Action No. 3:22-cv-02174-C

Texas Realator et al

 

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Sandra Naseef

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Tianikwa Haywood

3222 Burgundy Lane
Midlothian, TX 76065

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: _ GEP 3 0 2020 mM. Barlic,

Signature of C. “| or Deputy Clerk
Case 3:22-cv-02174-K-BT Document 4 Filed 09/30/22 Page2of14 PagelD 13

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 3:22-cv-02174-C

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

 

was received by me on (date)

Date:

1 I personally served the summons on the individual at (place)

 

on (date) 3 or

 

© I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
© I returned the summons unexecuted because ; or
OV Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00 :

I declare under penalty of perjury that this information is true.

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
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AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Northern District of Texas

Haywood et al

 

Plaintiff
V. Civil Action No. 3:22-cv-02174-C

Texas Realator et al

 

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Tim Nicholson

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Tianikwa Haywood

3222 Burgundy Lane
Midlothian, TX 76065

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

SEP e () «
Date: _ ance WM. Bod

Signature of C\ a Clerk

 
 

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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 3:22-cv-02174-C

PROOF OF SERVICE

(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

 

was received by me on (date)

Date:

© I personally served the summons on the individual at (place)

 

on (date)

 

© I left the summons at the individual’s residence or usual place of abode with (name)

; or

, a person of suitable age and discretion who resides there,

 

 

 

 

On (date) , and mailed a copy to the individual’s last known address; or
© I served the summons on (name of individual) , Who is
designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
© I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
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AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

Haywood et al

 

Plaintiff
Vv. Civil Action No. 3:22-cv-02174-C

Texas Realator et al

 

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Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) DHI| Mortgage Company Ltd

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Tianikwa Haywood

3222 Burgundy Lane
Midlothian, TX 76065

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT
SEP 3 0 2022

Date: YY ‘ Kyeule,

Signature of C. t or Deputy Clerk
Case 3:22-cv-02174-K-BT Document 4 Filed 09/30/22 Page6of14 PagelD 17

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 

Civil Action No. 3:22-cv-02174-C

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

 

was received by me on (date)

© I personally served the summons on the individual at (place)

 

on (date) ; or

 

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) 3 or
© I returned the summons unexecuted because ; or
© Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:

 
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AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

Haywood et al

 

Plaintiff
Vv. Civil Action No. 3:22-cv-02174-C

Texas Realator et al

 

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Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Sonya Luechauser

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Tianikwa Haywood

3222 Burgundy Lane
Midlothian, TX 76065

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: SEP 3 0 2022 Mw Rake

Signature of C ~ ‘ Deputy Clerk
 

 

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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 3:22-cv-02174-C

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

 

was received by me on (date)

Date:

CI personally served the summons on the individual at (place)

 

on (date) ; or

 

© I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) 5; or
© I returned the summons unexecuted because ; or
OF Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00 .

I declare under penalty of perjury that this information is true.

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
 

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AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

Haywood et al

 

Plaintiff
Vv. Civil Action No. 3:22-cv-02174-C

Texas Realator et al

 

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Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Stanford & Kurland

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: —Tianikwa Haywood

3222 Burgundy Lane
Midlothian, TX 76065

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: SEP 3 0 2022 MN.

 

Signature of C. o Deputy Clerk
Case 3:22-cv-02174-K-BT Document 4 Filed 09/30/22 Page 10o0f14 PagelD 21

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 3:22-cv-02174-C

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

 

was received by me on (date)

C1 I personally served the summons on the individual at (place)

 

on (date) 5 or

 

1 I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
© I returned the summons unexecuted because ;or
OF Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00 .

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:

 
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AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Northern District of Texas

Haywood et al

 

Plaintiff
Vv. Civil Action No. 3:22-cv-02174-C

Texas Realator et al

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Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Mackie, Wolf, Zientz, Man PC Law Firm

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Tianikwa Haywood

3222 Burgundy Lane
Midlothian, TX 76065

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

P 3 0 2022
SEP 3 I.

 
 

Date:

   

Signature of Clerk or Deputy Clerk
 

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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 3:22-cv-02174-C

Date:

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

 

was received by me on (date)

C1 I personally served the summons on the individual at (place)

 

on (date) 3 or

 

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

C I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
© I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
 

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AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

Northern District of Texas

Haywood et al

 

Plaintiff
V. Civil Action No. 3:22-cv-02174-C

Texas Realator et al

 

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Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Texas Realator

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Tianikwa Haywood

3222 Burgundy Lane
Midlothian, TX 76065

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

SEP 3 0 2022

Date:

<

Signature of cog Deputy Clerk

 
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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 3:22-cv-02174-C

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

 

was received by me on (date)

Date:

C1 I personally served the summons on the individual at (place)

 

on (date) ; or

 

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

© Iserved the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) > OF
© IJ returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
